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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :    CRIMINAL NO.
                                             :
       v.                                    :
                                             :
MAXWELL MORGAN,                              :    VIOLATION:
    Defendant.                               :    18 U.S.C. § 2252(a)(2)
                                             :    (Receipt of Child Pornography)


                                           INFORMATION

       The United States Attorney charges that:

                                                 Count One

       On or about January 22, 2018, the defendant, MAXWELL MORGAN, did knowingly receive any

child pornography as defined in 18 U.S.C. 2256(8), that has been mailed, or using any means or facility

of interstate or foreign commerce shipped or transported in or affecting interstate or foreign commerce by

any means, including by computer.

       (Receipt of Child Pornography, in violation of Title 18, United States Code, Section 2252(a)(2))


                                             Respectfully submitted,

                                             MICHAEL R. SHERWIN
                                             ACTING UNITED STATES ATTORNEY

                                     By:     ___/s/ Lindsay Suttenberg_______________
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